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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION at LEXINGTON

  UNITED STATES OF AMERICA,                )
                                           )        Criminal Action No.
         Plaintiff,                        )       5:09-CR-67-JMH-EBA-1
                                           )
  v.                                       )
                                           )
  ROBERT HERALD BARNETT,                   )    MEMORANDUM OPINION & ORDER
                                           )
         Defendant.                        )


                          **     **        **    **     **

         This matter is before the Court upon Robert Herald Barnett’s

  Petition for Writ of Audita Querela [DE 187].                   In his motion,

  Petitioner takes the position that it is appropriate to seek a

  writ of audita querela instead of a writ under 28 U.S.C. § 2255 in

  this instance, because the Supreme Court did not make its decision

  in United States v. Booker, 543 U.S. 220 (2005), retroactive such

  that relief from the sentence imposed upon him might be obtained

  upon a for a writ of habeas corpus under 28 U.S.C. § 2255.                     The

  Court disagrees because Booker is no more retroactively applicable

  in this instance, notwithstanding what writ Petitioner seeks.                  He

  challenges his conviction, and, thus, Plaintiff seeks a successive

  habeas petition under § 2255.            See Charles v. Chandler, 180 F.3d

  753, 755-56 (6th Cir. 1999) (noting that “courts have uniformly

  held   that   claims   asserted     by   federal    prisoners    that   seek   to

  challenge their convictions or imposition of their sentence shall
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  be filed in the sentencing court under 28 U.S.C. § 2255.”).                  He

  has not, however, received authorization from the Sixth Circuit

  Court of Appeals to file it.           Because Defendant has previously

  sought relief in this matter by means of a motion under § 2255 [DE

  98], which relief was denied [DE 166] by this Court, this matter

  must be transferred to the United States Court of Appeals for the

  Sixth Circuit pursuant to In re Sims, 111 F.3d 45, 47 (6th Cir.

  1997) (per curiam), for review and certification as a second or

  successive motion.      See 28 U.S.C. §§ 2244(a), 2255(h).

         Accordingly, IT IS ORDERED:

        (1) that the Clerk shall TRANSFER Defendant=s Petition for

  Writ of Audita Querela [DE 187], construed as a Motion to Vacate,

  Set Aside, or Correct His Sentence pursuant to 28 U.S.C. ' 2255,

  to the United States Court of Appeals for the Sixth Circuit for

  further proceedings in keeping with In re Sims, 111 F.3d 45, 47

  (6th Cir. 1997) (per curiam).

        (2)   that the Clerk shall STRIKE THIS MATTER FROM THE ACTIVE

  DOCKET.

        This is the 21st day of March, 2017.
